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                    6
                    7
                    8                                 UNITED STATES DISTRICT COURT
                    9                 CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
                   10
                   11 RUKIYA GORDON, an individual,                    Case No.
                   12                    Plaintiff,                    GREEN DECLARATION IN
                                                                       SUPPORT OF NOTICE OF
                   13            vs.                                   REMOVAL OF CIVIL ACTION
                                                                       UNDER 28 U.S.C. § 1441(b)
                   14 AMPLITY HEALTH, an unknown                       [DIVERSITY OF CITIZENSHIP]
                      business entity, AMPLITY, INC., a
                   15 corporation and DOES 1-10, DOES 11-              Trial Date:         None Set
                      20 and DOES 21-20, inclusive,
                   16
                                   Defendants.
                   17
                   18
                   19            I, Eric Green, declare as follows:
                   20            1.      I am currently employed as General Counsel & Chief Compliance
                   21 Officer for Amplity, Inc., which uses the trade name of Amplity Health (hereinafter
                   22 as “Amplity, Inc.”). This declaration is offered in support of Defendant Amplity,
                   23 Inc.’s Notice of Removal of this action pursuant to 28 U.S.C. § 1441(b). I have
                   24 personal knowledge of the facts set forth herein, and if called as a witness to testify
                   25 thereto, I could competently and truthfully do so.
                   26            2.      As a result of performing responsibilities in my capacity as General
                   27 Counsel & Chief Compliance Officer, I know and understand Amplity, Inc.’s

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BISGAARD
& SMITH LLP                           GREEN DECLARATION IN SUPPORT OF NOTICE OF REMOVAL OF CIVIL ACTION
ATTORNEYS AT LAW                               UNDER 28 U.S.C. §1441(b) [DIVERSITY OF CITIZENSHIP]
               Case 2:24-cv-01614-MWF-MAA Document 1-3 Filed 02/27/24 Page 2 of 2 Page ID #:146




                    1 corporate structure as well as the location of its corporate entity, its officers and
                    2 senior management.
                    3            3.      Amplity, Inc. is, and at all times alleged in the Complaint was, a
                    4 corporation formed and organized in the State of New Jersey with its headquarters
                    5 and principal place of business at 2080 Cabot Blvd. West, Suite 100, Langhorne,
                    6 Pennsylvania, 19047.
                    7            4.      In addition, as part of my role, I am familiar with Plaintiff Rukiya
                    8 Gordon’s (“Plaintiff”) payroll files, which are kept in the regular course of business
                    9 operations for Amplity, Inc. From April 5, 2021 through January 31, 2022,
                   10 Amplity, Inc. employed Plaintiff as a Pharmaceutical Sales Representative
                   11 representing a company client in California. From my review of Plaintiff’s payment
                   12 records provided by the Human Resources Department in the regular course of
                   13 business, Amplity, Inc. paid Plaintiff a bi-weekly rate of $2,884.63 ($1,442.315 per
                   14 week) which annualizes to $75,000. Plaintiff was also eligible for and received
                   15 bonus compensation based on her performance.
                   16            I declare under penalty of perjury under the laws of the United States of
                   17 America that the foregoing is true and correct and that this declaration was executed
                   18 on this 27th day of February, 2024, at Morrisville, North Carolina.
                   19
                   20
                   21                                                     Eric Green
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BISGAARD
& SMITH LLP                           GREEN DECLARATION IN SUPPORT OF NOTICE OF REMOVAL OF CIVIL ACTION
ATTORNEYS AT LAW                               UNDER 28 U.S.C. §1441(b) [DIVERSITY OF CITIZENSHIP]
